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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

        plaintiffs,
  v.                                             Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/




       DR. CRAIG WRIGHT’S MOTION FOR JUDGMENT AS A MATTER OF LAW
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         During ten days of trial, plaintiffs have had ample opportunity to present their case.

  Given the record, the Court should enter judgment as a matter of law (“JMOL”) in Dr. Wright’s

  favor on Counts I-II and V-VIII of Plaintiffs’ Second Amended Complaint (“SAC”) (D.E. 83)

  and on plaintiffs’ claims for damages, disgorgement, and punitive damages. This result is

  warranted by plaintiffs’ failure to meet their burden of establishing all necessary elements of

  their claims and adducing non-speculative evidence of their purported damages. Even viewing

  evidence in plaintiffs’ favor, “a reasonable jury would not have a legally sufficient evidentiary

  basis to find for [plaintiffs].” Fed. R. Civ. P. 50(a)(1), (b); e.g., Kellner v. NCL (Bah.), Ltd., 2016

  WL 4440510, at *2 (S.D. Fla. 2016) (granting JMOL as to liability), aff’d, 753 F. App’x 662

  (11th Cir. 2018); Alphamed Pharms. Corp. v. Arriva Pharms., Inc., 432 F. Supp. 2d 1319, 1351

  (S.D. Fla. 2006) (granting JMOL as to damages), aff’d, 294 F. App’x 501 (11th Cir. 2008).

                                             ARGUMENT

      1. Plaintiffs Failed to Provide Any Competent Evidence that Would Permit the Jury to
         Value the Bitcoin and Intellectual Property at Issue in this Case
         Plaintiffs failed to carry their burden of offering any evidence that would permit the jury

  to appropriately value the sizeable number of purported bitcoins that are at issue in this case.

  Given the number of alleged bitcoins at issue—at least 300,000 (SAC ¶ 112), and as many as

  550,000 (half of 1.1 million) (Nov. 1, 2021, Tr. 184:2-3) 1—, the historically low trading volume

  (Nov. 2, 2021, Tr. 106:4-6), as well as Bitcoin’s significant price volatility (id. at Tr. 29:12-21),

  plaintiffs may not rely on any purported spot price of Bitcoin to calculate damages, which




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   Except where otherwise noted, all transcript references in this motion are to the final transcripts
  prepared for this case.
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  appears to be their only “damages” 2 evidence. Plaintiffs also failed to offer any non-speculative

  evidence of how to value the unidentified intellectual property for which they seek recovery.

         “Under [Florida’s] certainty rule, which applies in both contract and tort actions, recovery

  is denied where the fact of damages and the extent of damages cannot be established within a

  reasonable degree of certainty.” Iron Bridge Tools, Inc. v. Meridian Int’l Co., USA, 2016 WL

  8716673, at *8 (S.D. Fla. 2016). The certainty requirement is a “threshold necessary to be

  considered legally probative of the amount or extent of damages” suffered by a plaintiff. In re

  Sherwood Inv’s Overseas Ltd. Inc., 2015 WL 4486470, at *27 (M.D. Fla. 2015). “It is incumbent

  upon a plaintiff in a trial court to present evidence to justify an award of damages in [a] definite

  amount.” United Steel & Strip Corp. v. Monex Corp., 310 So. 2d 339, 342 (Fla. 3d DCA 1975).

  If a damages calculation is based on speculation or conjecture, then JMOL is appropriate. See,

  e.g., Brough v. Imperial Sterling Ltd., 297 F.3d 1172 (11th Cir. 2002).

         Plaintiffs seek recovery for the value of more than 300,000 bitcoins. To calculate

  damages based on the number of bitcoins at issue, plaintiffs appear to have suggested two

  methods: either through a one-time sale of all the bitcoins in question, or a series of hypothetical

  sales over time. Nov. 2, 2021, Tr. 105:21-24 (one-time sale); 113:2-6 (sales over time). Here,

  however, a one-time sale would “probably” not be viable, given the large number of bitcoins that

  are the subject of the claim. Id. at Tr. 105:21-106:2. Indeed, plaintiffs’ “spot price” witness

  conceded that the spot prices to which he testified would not be realizable even for a sale of

  10,000 bitcoins, let alone 300,000. Id. at Tr. 105:15-20. The conclusion that a large amount of




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   The purported “damages” evidence was not provided by an expert admitted on valuation issues
  or by a damages expert. It bears noting that, in denying Dr. Wright’s Daubert motion regarding
  Anotonpolous, the Court relied on “Plaintiffs[‘] represent[ation] that Mr. Antonopolous [would]
  not opin[e] on the ultimate damages to be awarded.” D.E. 622 at 66-67.
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  bitcoins cannot be sold all at once at a historical spot price without depressing the market (and

  the price) triggers Florida’s “blockage rule” for valuing large blocks of traded assets. See Fla.

  Nat. Bank Jacksonville v. Simpson, 59 So. 2d 751, 768-769 (Fla. 1952) (stocks).3

         “The blockage rule provides that, when [assets] are being valued, the size of the holding,

  and not simply the quoted price per share is a relevant consideration.” Rushton v. C. I. R., 498

  F.2d 88, 89 (5th Cir. 1974) (stocks). “This principle recognizes the market fact that a block of

  shares may be so large in relation to the usual trading volume or to the number of shares

  outstanding that it would necessarily alter its price.” Id.; see, e.g., Cleary v. Higley, 154 Misc.

  158, 166 (Sup. Ct. 1934) aff’d 246 App. Div. 97 (1st Dep’t 1935) (“The proof of market value of

  a small number of shares is obviously no criterion to establish the value of a tremendous block of

  one million six hundred thousand shares which were twice as many as were then on the

  market.”). None of these facts are recognized by plaintiffs’ speculative damages theory, by

  which they propose to simply multiply the spot price on a given day by hundreds of thousands.

  There is absolutely no testimony about what price, if any, would be realizable from a one-time,

  open-market sale of more than 300,000 bitcoins.

         As for plaintiffs’ second proffered scenario of hypothetical sales over time, there is no

  evidence as to how any such hypothetical sales would have been conducted, the time frame

  during which such sales would take place, or the realizable prices of such sales that would

  provide the jury with legally sufficient guidance on how to calculate such damages. See Kane v.

  Shearson Lehman Hutton, Inc., 916 F.2d 643, 647 (11th Cir. 1990) (Plaintiff's alleged damages

  from “anticipated profits based [ ] on his claim that he would have sold [ ] securities at the




  3
   Plaintiffs’ witness Andreas Antonopoulos testified that the price of Bitcoin is determined in the
  same way as the price of publicly traded shares of stock. Nov. 2, 2021, Tr. 25:15-19.
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  optimal time” was speculative.). Expert testimony is typically required in cases such as this one,

  which involve asset valuation and complex financial calculations of damages. See, e.g., Morgan

  Stanley & Co. Inc. v. Coleman (Parent) Holdings Inc., 955 So. 2d 1124, 1128 (Fla. 4th DCA

  2007) (“As a general rule, plaintiffs alleging securities fraud rely on expert proof to establish

  both the fact of damage and the appropriate method of calculation.”); Kingsway Fin. Servs. v.

  Pricewaterhouse-Coopers LLP, 2006 WL 1520227, at *1 (S.D.N.Y. 2006) (expert testimony

  required when damages are not the product of a “simple mathematical calculation”); Chatelain v.

  Prudential-Bache Sec., 805 F. Supp. 209, 214 (S.D.N.Y. 1992).

         Nonetheless, Plaintiffs did not present any such expert testimony. In fact, Mr.

  Antonopoulos was not admitted as an expert, and did not testify, regarding damages or valuation.

  Nov. 2, 2021, Tr. 101:21-22, 102:2-4 (admitting he was not a “trained economist” or holding

  himself out as one). Antonopoulos merely provided testimony as to the historical price of Bitcoin

  (on four specific dates chosen by plaintiffs’ counsel) (id. at Tr. 99:2-11), admitted that the

  historical “price” was not equivalent to the market price of Bitcoin (id. at Tr. 105:7-20), and

  conceded that he didn’t know what, if any, quality controls existed for determining a daily “spot”

  price of Bitcoin. Id. at Tr. 98:23-99:1. Moreover, he failed to verify any of the data upon which

  he relied since he did not compile the spot prices of which he testified. Id. at Tr. 106:7-9.

          Given the “total absence of any evidence (by expert opinion or otherwise) or logical

  explanation describing how the jury could have [calculated damages],” any damages here would

  be impermissibly speculative, which precludes a finding for plaintiffs a matter of law. See, e.g.,

  Alvarez v. All Star Boxing, Inc., 258 So. 3d 508, 513 (Fla. 3d DCA 2018); Soltero v. Swire Dev.

  Sales, Inc., 2010 WL 11506701, at *7-8 (S.D. Fla. 2010), aff’d, 485 Fed. Appx. 377 (11th Cir.

  2012) (setting aside compensatory damages award as a matter of law where plaintiff “retained a



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  real estate valuation expert, but chose not to call him as a witness to provide opinions as to the

  actual value of” the unit and there was no testimony justifying the damages claim); Trailer

  Ranch, Inc. v. Levine, 523 So. 2d 629, 632-33 (Fla. 4th DCA 1988) ("[T]he evidence . . . was

  totally insufficient to support [the] . . . judgment awarding damages for loss of business value”

  where lay witness “was familiar with the day-to-day operation of the business” but did not “have

  any real concept of the value of the business.”); Williams v. Mosaic Fertilizer, LLC, No. 2017

  WL 5307920, at *4 (M.D. Fla. 2017), aff'd, 889 F.3d 1239 (11th Cir. 2018) (affirming summary

  judgment for failure to prove damages after exclusion of lay witness’ testimony that her property

  could not be sold at any price, because it “lacked foundation and was purely speculative”).

         Plaintiffs also failed to offer any competent evidence of the alleged value of the purported

  intellectual property at issue. The evidence introduced conclusively demonstrated plaintiffs’

  reliance on assumptions that are, at the very least, improperly speculative. For example, the

  Business Reports and Values4 (“BRV”) cost-basis valuation plaintiffs presented did nothing

  more than speculate as to future costs that four Bitcoin-related companies “[would incur in

  creating the IP.]” Ex. P-183, p. 12. Underscoring the speculative nature of BRV’s valuation, the

  report itself makes clear that a cost-basis projection “is in no way relevant to the value of that

  software.” Id. (emphasis added).5 Finally, BRV’s valuation concedes that “the benefits deriving

  from the software will not be accessible for a number of years” because the technologies were

  still in the development stage. Ex. P-183, p. 12.




  4
    Watts testified that she could not confirm whether this report was in final or draft form. Watts
  Depo., Tr. 196:08-11, 17-21; 197:15-17; 198:10-11.
  5
    As Ramona Watts’ video deposition testimony at trial made clear, at least two of the four
  entities never came to fruition. Watts Depo., Tr. 202:24-203:5 (“I know that we never finished
  the [C01N] wallet. As with Coin-Exch we did not have the resources and we did not have the
  people. So I can tell you that this was not finished, it wasn’t even half done.”).
                                                      5
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         Further, the draft IP valuation analysis from Baker McKenzie (Ex. P-457) conceded that

  the blockchain industry is in its infancy, and used comparables from unrelated technology

  industries’ “commercial potential” in uncommercialized and highly uncertain markets. Ex. P-

  457, pp. 5, 11.6 Finally, the Baker McKenzie draft valuation did not specify the IP it was valuing

  as it related to David Kleiman, but instead solely related to EITC Holding Ltd.’s “blockchain

  technology currently being developed by the group” (circa 2016). Ex. P-457, p. 4.

         The WKID Cost Estimation plaintiffs introduced almost at the close of their case fares no

  better. Ex.P-166. As its title clearly states, this document is not more than a prediction of costs.

  The document contains the estimated cost of developing a new software under three alternative

  hypothetical scenarios. Ex.P-166, p. 28. It is unclear who prepared the document, their

  qualifications, the assumptions made, if the appropriate variables were used, and even which, if

  any, alternative scenario ultimately occurred. An unsupported future cost projection prepared in

  2014 by an unknown source is insufficient to establish the value of the intellectual property

  purportedly owned by W&K.

         Put simply, plaintiffs did not offer any expert testimony to support their proffered

  valuation (or ay valuation) of the intellectual property. When a party’s valuation figure is not

  supported by competent, substantial evidence, it fails as a matter of law. See Nunez v. Nunez, 29




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    Evidence presented at trial from Jimmy Nguyen’s video deposition testimony underscored the
  fact that Baker & McKenzie’s draft valuation of a “new company as well as a new IP portfolio
  [was] just not believable,” because the company was “young” and was built on IP that had not
  “been monetized yet.” Nguyen Depo., Tr. 179:03-14, 18-21. Nguyen’s testimony was based on
  his experience with intellectual property, and the commonsense notion that IP gains value with
  time, after obtaining a patent (a lengthy process), surviving patent challenges, exploiting the
  patent and ultimately monetizing it. Nguyen Depo., Tr. 179:20-180:23. Most damning to
  plaintiffs’ case is Nguyen’s testimony that “the report was assuming too much, assuming that
  you just file the application and boom there’s all this automatic millions of dollars of value per
  application that’s not how it works.” Nguyen Depo., Tr. 181:5-7.
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  So. 3d 1191, 1192 (Fla. 5th DCA 2010) (reversing valuation of corporation, holding that trial

  court could not base valuation solely on letter of intent to purchase); Sheffield v. Sheffield, 522

  So. 2d 986, 986 (Fla. 1st DCA 1988) (reversing valuation of corporations in dissolution

  proceeding because trial court had based valuation solely on tax returns, which did not reveal the

  actual fair value of the corporations).

         Because Plaintiffs have closed their case in chief without submitting necessary expert

  testimony regarding damages, method of calculation, and valuation, they have not met their

  burden and JMOL should be entered for Mr. Wright as to plaintiffs’ damages claims.

     2. No Reasonable Jury Could Find for Plaintiffs on Count I (Conversion)

         A.      No Reasonable Jury Could Find Dr. Wright Liable for Conversion

         Under Florida law, “[i]t is apodictic . . . that a plaintiff’s initial proof of a prima facie case

  of both conversion and tortious interference in [his] case-in-chief requires more than proof of

  liability. Prima facie proof of damages is required as well.” Saewitz v. Saewitz, 79 So. 3d 831,

  833 (Fla. 3d DCA 2012). To that end, a party “is entitled to a damage award amounting to the

  market value of the subject property on the date of the conversion plus interest accruing from

  that date.” Talbot v. Rosenbaum, 142 So. 3d 965, 968 (Fla. 4th DCA 2014); accord Ox Labs Inc.

  v. BitPay, Inc., 848 F. App’x 795, 797 (9th Cir. 2021) (“The applicable California law does not

  compel us to award a remedy that we have concluded would be manifestly unjust, given the

  massive increase in Bitcoin price in the period after conversion of the assets up to this time”).

         At trial, plaintiffs were required, but failed, to present any evidence demonstrating the

  value of Bitcoin and intellectual property on the date of the alleged conversion. They offered

  testimony of the spot price of Bitcoin on three dates— February 14, 2018 (when this lawsuit was

  filed); October 20, 2021 (highest price of Bitcoin to date); and October 30, 2021 (two days



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  before trial)—all of which were long after any claim for conversion would have accrued and are

  thus irrelevant as a matter of law. See Saewitz, 79 So. 3d at 833. Plaintiffs further failed to offer a

  scintilla of evidence explaining how the Bitcoin spot price on April 26, 2013 (the first to which

  Antonopolous testified), or on any other date before the filing of the Complaint, could mark the

  start of a “legally relevant time period” for calculating damages. See id. Nor did Plaintiffs offer a

  shred of evidence as to the value of the intellectual property at issue at the time it allegedly was

  converted. See, e.g., Ex. P-183 (date of valuation of November 13, 2014); Ex. P-457 (draft

  valuation in October 2016) As such, Dr. Wright cannot be held liable for conversion, and the

  Court should enter JMOL as to plaintiffs’ conversion claim.

         B.      No Reasonable Jury Could Find Dr. Wright Liable for Punitive Damages for
                 Conversion

         Even if plaintiffs’ conversion claim were legally sufficient and viable, plaintiffs are not

  entitled to an award of punitive damages because they have not met the requisite burden of

  proof. Because there is no basis, “the court should withdraw [punitive damages] from the

  consideration of the jury.” DeWitt v. Seaboard Coast Line R. Co., 268 So. 2d 177, 179 (Fla. 2d

  DCA 1972). “[P]unitive damages are allowable only ‘where the circumstances surrounding the

  conversion are such to show fraud, actual malice, deliberate violence or oppression, or such

  gross negligence as to indicate a wanton disregard of the rights of others.’” Sporting Goods

  Distrib., Inc. v. Whitney, 498 F. Supp. 1088, 1092 (N.D. Fla. 1980). Here, there is a dearth of

  evidence that Dr. Wright’s actions met this threshold. Id.; Stearns v. Landmark First Nat’l Bank

  of Fort Lauderdale, 498 So. 2d 1001 (Fla. 4th DCA 1986).




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      3. No Reasonable Jury Could Find for Plaintiffs on Count II (Unjust Enrichment)

          A.      No Reasonable Jury Could Find Dr. Wright Liable for Unjust Enrichment

          Under Florida law, a claim of unjust enrichment cannot be predicated on wrongful acts

   such as theft. State of Fla., Office of Atty. Gen., Dep’t of Legal Affairs v. Tenet Healthcare Corp.,

   420 F. Supp. 2d 1288, 1309 (S.D. Fla. 2005) (unjust enrichment claim dismissed where it was

   predicated on purported RICO violations and theft); Group Assets, LLC. v. Fortress Inv. Group,

   2010 WL 2951508, at *4 (M.D. Fla. 2010). At trial, plaintiffs repeatedly claimed that Dr. Wright

   stole from the estate of David Kleiman. See e.g., Nov. 3, 2021, Tr. 161:14-66 (“Q. Sir, you allege

   that Craig Wright stole bitcoin from David Kleiman, don’t you? A. Yes.”). As such, Dr. Wright

   is entitled to JMOL on plaintiffs’ unjust enrichment claim.

          B.      No Reasonable Jury Could Find Dr. Wright Liable for Restitution after the
                  Filing of the Complaint

          The purpose of restitutionary claims is not to punish, but rather to return a plaintiff to the

   position it was in before the defendant received the benefit. See Engelke v. Athle-Tech Computer

   Sys., Inc., 982 So. 2d 3, 8-9 (Fla. 2d DCA 2008). “Under Florida law . . . an unjust enrichment

   claim accrues when the benefit is conferred.” In re Burton Wiand Receivership Cases Pending in

   the Tampa Div. of the Middle Dist. of Fla., 2008 WL 818504, at *8 (M.D. Fla. 2008); Beltran v.

   Vincent P. Miraglia, M.D., P.A., 125 So. 3d 855, 859 (Fla. 4th DCA 2013) (“[U]njust enrichment

   or quantum meruit claims generally begin to run” when “defendant obtained the subject property

   or goods.”). Thus, any restitutionary damages for plaintiffs’ claim would be measured by the

   date on which the alleged benefit was conferred. Plaintiffs further failed to offer a scintilla of

   evidence explaining why the purported spot price of Bitcoin on April 26, 2013 or any other date

   before the filing of the Complaint is a legally relevant date for calculating the value of the

   bitcoins at issue. Nor did Plaintiffs offer any evidence as to the value of the intellectual property

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   at issue during the relevant time period. Finally, any damages calculation based on (or after) the

   date when plaintiffs filed their Second Amended Complaint would be an inappropriate measure

   of damages as a matter of law.

      4. No Reasonable Jury Could Find for Plaintiffs on Count V
         (Breach of Fiduciary Duty)

          A.      No Reasonable Jury Could Find Dr. Wright Liable for Breach of Fiduciary
                  Duty

          Plaintiffs failed to prove that Dr. Wright breached any fiduciary duty to plaintiffs. At

   trial, plaintiffs admitted evidence that W&K was a manager-managed LLC. See JE 001. In a

   manager-managed LLC, a manager owes fiduciary duties of loyalty and care to the limited

   liability company and its members. See Fla. Stat. § 605.04091(1). Plaintiffs introduced evidence

   that David Kleiman was a manager of W&K but did not admit any evidence that Dr. Wright was

   a manager of W&K. See JE 001. Because plaintiffs failed to prove that Dr. Wright owed any

   fiduciary duties to plaintiffs, Dr. Wright is entitled to JMOL.

          B.      No Reasonable Jury Could Find Dr. Wright Liable for Damages for Breach of
                  Fiduciary Duty

          The date for calculating damages for a breach of fiduciary duty is the date of the breach.

   E.g., Haddad v. Rav Bahamas, Ltd., 589 F. Supp. 2d 1302, 1307 (S.D. Fla. 2008) (“Like

   damages for breach of contract, damages for breach of fiduciary duty are measured as of the date

   of the breach.”). Here, plaintiffs allege that Dr. Wright breached fiduciary duties owed to W&K

   by transferring assets that belonged to David Kleiman or W&K to himself or companies that he

   controlled. SAC ¶ 195. This claim appears to be based on conduct occurring on (or soon after)

   April 26, 2013, and no later than November 4, 2013. See Ex. P-709, P-710.

          Plaintiffs failed to introduce any evidence explaining why the purported spot price of

   Bitcoin on April 26, 2013 or any other date before the filing of the Complaint is a legally

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   relevant date for calculating the value of the bitcoins at issue.7 The dates for which plaintiffs

   offered “spot” prices are thus legally irrelevant to the calculation of damages for Dr. Wright’s

   alleged breach of fiduciary duty. Plaintiffs also failed to introduce any evidence as to the value of

   the intellectual property at the time of the alleged breach. As such, plaintiffs are unable to prove

   damages for an alleged breach of fiduciary duty as a matter of law. Further, as demonstrated

   above, there is no legal basis for plaintiffs to recover damages based on purported spot prices on

   the date when the complaint was filed or any date thereafter.

       5. No Reasonable Jury Could Find for Plaintiff Ira Kleiman on Count VI
          (Breach of Partnership Duties of Loyalty and Care)

           A.      No Reasonable Jury Could Find Dr. Wright Liable for Breach of the
                   Partnership Duties of Loyalty and Care

           In their opening, Plaintiffs claimed that David Kleiman and Dr. Wright had a

   “partnership” to mine bitcoin together from 2008 through 2011, but plaintiffs introduced no

   written partnership agreement. In the absence of a written agreement, plaintiffs travel on a purported

   three-year oral contract (which violates the statute of frauds). Even if that were not so, plaintiffs

   failed to carry “the burden of establishing the existence of such contract, including all of its essential

   elements,” which “is indeed, as it should be, a heavy and difficult one.” Vannamei Corp. v. Elite Int’l

   Telecomm, Inc., 881 So. 2d 561, 562 (Fla. 3d DCA 2004) (emphasis added) .

           To prove that a binding contract existed, plaintiffs were required to put on evidence of a

   meeting of the minds on the essential terms necessary to form a partnership, including the

   contract’s duration, the parties’ obligations to one another, the parties’ corresponding rights and

   duties, and the financial specifics of the alleged partnership, including whether partnership

   profits would be gross or net, split equally, stated as revenue, profit, or income. E.g., Dreyfuss v.


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     Further, the consent judgments transferring assets from W&K to Dr. Wright concern only the
   intellectual property owned by W&K, not Bitcoin. Ex. P-709, P-710.
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   Dreyfuss, 701 So. 2d 437, 438-39 (Fla. 3d DCA 1997) (“finding that there was competent,

   substantial evidence in support of the trial court’s conclusion that no contract was formed”). “A

   partnership is only established when both parties contribute to the capital or labor of the

   business, have a mutuality of interest in both profits and losses, and agree to share in the assets

   and liabilities of the business.” Id. at 439.

           Here, plaintiffs adduced no evidence of any of the essential terms of their purported oral

   partnership agreement. Plaintiffs presented absolutely no evidence that David Kleiman and Dr.

   Wright ever agreed to share any “partnership” profits (let alone the manner in which the purported

   oral partnership would distribute profits), which is the sine qua non of a partnership under Florida’s

   Revised Uniform Partnership Act. Fla. Stat. § 620.8202. Plaintiffs further failed to demonstrate

   that David Kleiman and Dr. Wright: distributed any profits from this purported oral partnership;

   agreed to be jointly responsible for losses or share exposure to any potential liability; filed any tax

   returns; or circulated K-1 schedules showing a profit or loss (either actual or on paper) . Absent any

   evidence of an alleged oral partnership between David Kleiman and Dr. Wright, there can be no

   breach of any purported duties of care or loyalty between them. See, e.g., Williams v. Skylink Jets,

   Inc., 314 F.3d 1275, 1275 (11th Cir. 2002) (affirming judgment of no oral partnership where plaintiff

   put on no evidence regarding the “distribution of partnership gains, losses, payment of business

   loans, payment of overhead costs, how to dissolve the partnership or the distribution of assets”).

           B.      No Reasonable Jury Could Find Dr. Wright Liable for Damages Proximately
                   Resulting from a Breach of Partnership Duties of Loyalty and Care

           Even if plaintiffs could have introduced legally sufficient evidence of an oral partnership

   between David Kleiman and Dr. Wright, they failed to prove any damages for the alleged

   breaches of the duties of care and loyalty. They alleged that the oral partnership ended in 2011

   when W&K was formed (SAC ¶200), but introduced no evidence of the value of Bitcoin at the


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   time the purported partnership allegedly was dissolved and wound up, how many bitcoins it had

   at that time, and what intellectual property it had produced (let alone its value).

          The latest conceivable date for calculating any damages would be the date of David

   Kleiman’s death, because that is when Dr. Wright allegedly breached duties of care and loyalty

   owed to the purported partnership and David Kleiman. Id.; see Haddad, 589 F. Supp. 2d at 1307

   (“Like damages for breach of contract, damages for breach of fiduciary duty are measured as of

   the date of the breach.”).8 As a result plaintiffs may not recover damages based on any purported

   Bitcoin spot price on any date after April 26, 2013, or any evidence of the value of any alleged

   intellectual property belonging to the “partnership” after April 26, 2013. Under no circumstances

   could there be any legal basis for plaintiffs to recover damages based on purported spot prices on

   the date the complaint was filed or at any time thereafter.

       6. No Reasonable Jury Could Find for Plaintiffs on Count VII (Fraud)

          A.      No Reasonable Jury Could Find Dr. Wright Liable for Fraud

          To succeed on their common-law fraud claim, plaintiffs were required to provide record

   evidence that proved: (1) a material misrepresentation of fact; (2) known by the defendant to be

   false when it was made; (3) made for the purpose of inducing [plaintiffs] to act in reliance on it;

   (4) action by the plaintiffs in reliance on the correctness of the representations; and (5)

   proximately resulting damages. Biscayne Cove Condo. Ass’n v. QBE Ins. Corp., 971 F. Supp. 2d

   1121, 1145 (S.D. Fla. 2013)). Plaintiffs were further obligated to prove “that [they] had a right to




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     Section 620.8701, Fla. Stat., provides that when a partner disassociates from a partnership, the
   partnership must cause that partner’s interest to be purchased for the amount that would have
   been distributable to that partner on the date of disassociation. Further, a partner disassociates
   from a partnership upon his death as a matter of law. Fla. Stat. § 620.8601(7)(a). Thus, the date
   of Dave Kleiman’s death would be the latest date on which any damages could be measured for
   any purported breach of fiduciary duty to the alleged oral partnership.
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   rely on the representations.” Pettinelli v. Danzig, 722 F.2d 706, 709 (11th Cir. 1984) (citing

   Columbus Hotel Corp. v. Hotel Mgmt. Co., 116 Fla. 464, 156 So. 893 (1934)).

          Judgment as a matter of law on plaintiffs’ fraud claims is required because plaintiffs had

   no right to rely on any of Dr. Wright’s statements after April 2014. Under Florida law, a plaintiff

   may not reasonably rely on representations made by someone the plaintiff already distrusts. E.g.,

   Mergens v. Dryfoos, 166 F.3d 1114, 1117-19 (11th Cir. 1999) (collecting cases). At trial, Ira

   Kleiman testified that he did not trust Dr. Wright as early as April 15, 2014. See Nov. 5, 2021,

   Tr. 31:19-32:4; see, e.g., Ex. P-156. Ira Kleiman first contacted Dr. Wright in February 15, 2014

   (Nov. 3, 2021, Tr. 40:5-7; D-285), and within two months, by April 15, 2014, plaintiffs already

   distrusted Dr. Wright and were investigating claims against him. Because Ira Kleiman no longer

   trusted Dr. Wright’s representations, he had no right to rely on anything Dr. Wright purportedly

   said after April 15, 2014. E.g., Moriber v. Dreiling, 194 So. 3d 369, 374 (Fla. 3d DCA 2016)

   (“There can be no ground for complaint against representations where the hearer lacked the right

   to rely thereon, because he had reason to doubt the truth of the representation.”).

          Thus, plaintiffs had only two months during which they could have reasonably relied on

   Dr. Wright’s allegedly fraudulent statements. 9 However, there is no evidence of any such

   statements, let alone any proximately resulting fraudulent “injury” during that two-month period.

   Further, the Australian court’s judgment was entered on November 6, 2013, three months before

   Ira Kleiman contacted Dr. Wright, so nothing he might have later said could have “induced”



   9
     The Court has not admitted plaintiffs’ privilege log (D193) into evidence, but its mere existence
   and documents from as early as February 2014 that plaintiffs produced in redacted form on
   work-product grounds (D399) confirm the fact that Ira Kleiman was acting in anticipation of
   litigation as early as February 25, 2014. These facts demonstrate that plaintiffs were adverse to
   Dr. Wright almost from their first contact, which dispositively undermines any claim of
   reasonable reliance. Dr. Wright respectfully requests that the Court reconsider its ruling in
   connection with D.E. 767.
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   plaintiffs’ failure to appear or act in those proceedings, of which they had express notice, let

   alone their failure to challenge those judgments in Australia. Finally, judgment as a matter of law

   on plaintiff W&K’s fraud claim also is required because plaintiffs put on no evidence of any

   fraudulent statements made to anyone connected with W&K in the pertinent time period.

          B.      No Reasonable Jury Could Find Dr. Wright Liable for Damages for Fraud

          Plaintiffs also failed to identify any damages they sustained as a proximate result of Dr.

   Wright’s alleged fraud. Plaintiffs did not introduce (and could not have introduced) evidence of

   any actual damages proximately resulting from anything Dr. Wright said to them. “It is

   fundamental that actual damages and the measure of those damages are essential to establishing a

   claim of fraud[,]” and “[w]ithout proof of actual damage the fraud is not actionable.” Caledonian

   Bank & Tr. Ltd. v. Fifth Third Bank, 2015 WL 5542544, at *3 (M.D. Fla. 2015) (granting

   JMOL). None of plaintiffs’ alleged damages were even connected to, much less proximately

   caused by, any of Dr. Wright’s purported statements, which compels judgment as a matter of

   law. The record evidence cannot support a claim that plaintiffs’ purported damages could include

   any purported time and resources they spent in voluntarily talking to the ATO.

          Because the evidence demonstrates that plaintiffs distrusted and were adverse to Dr.

   Wright by April 15, 2014, at the latest, they could not have relied on any statements by Dr.

   Wright. Under Florida law, “the crucial time for the measurement [of a fraud claim] is the time

   of the fraudulent representation.” Hollister Inc. v. Zassi Holdings, Inc., 752 F. App’x 888, 893

   (11th Cir. 2018); Soltero, 485 F. App’x at 379 (plaintiff must provide the jury evidence of the

   “actual value of the property in question” at the time of the fraudulent misrepresentation);

   Minotty v. Baudo, 42 So. 3d 824, 835 (Fla. 4th DCA 2010) (holding that failure to establish the

   fair market value of the stock at the time of the fraud was fatal to fraud claim). Thus, plaintiffs

   could only seek damages suffered between February and April 2014. See Totale, Inc. v. Smith,
                                                    15
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   877 So. 2d 813, 815 (Fla. 4th DCA 2004) (“Later appreciation or depreciation of the property

   that is subject of the false representation generally does not alter the fraud damage

   computation.”). Plaintiffs offered no evidence of damages during that time period, which

   required JMOL as to their fraud claim because damages are an essential part of that claim. 10 See

   QBE Ins. Corp., 971 F. Supp. 2d at 1145. In any event, as demonstrated above, there could be no

   legal basis for plaintiffs to recover damages based on spot prices on the date the complaint was

   filed or any date thereafter.

           Finally, because plaintiffs may not recover any damages on their fraud claims as a matter

   of law, it necessarily follows that they may not recover punitive damages, either. On this record,

   an award of punitive damages is improper as a matter of law. See Soltero, 485 F. App’x at 380.

        7. No Reasonable Jury Could Find for Plaintiffs on Count VIII (Constructive Fraud)

           A.      No Reasonable Jury Could Find Dr. Wright Liable for Constructive Fraud

           Under Florida law, “[c]onstructive fraud may be based on misrepresentation or

   concealment, or the fraud may consist of taking an improper advantage of the fiduciary

   relationship at the expense of the confiding party.” Beers v. Beers, 724 So. 2d 109, 116-17 (Fla.

   5th DCA 1998). “Constructive fraud will not lie where the parties are dealing at arms-length

   because there is no duty imposed on either party to protect or benefit the other.” Am. Honda

   Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170, 1179 (M.D. Fla. 2005).

           As demonstrated above, there is no evidence of any misrepresentation or concealment by

   Dr. Wright that proximately caused plaintiffs any injury. Furthermore, Ira Kleiman offered no


   10
      Plaintiffs acknowledged there were no communications between Dr. Wright and Ira Kleiman
   after October 9, 2015. SAC ¶150. As a result, it would be improper to calculate the value of the
   Bicoin or intellectual property based on any information after October 9, 2015 since Dr. Wright
   made no possible fraudulent representations that could have affected plaintiffs’ alleged rights to
   such items after that date.
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   evidence at trial of any confidential or fiduciary relationship with Dr. Wright. All the evidence

   points the other way and demonstrates that an adversarial relationship already existed when the

   parties communicated at arms-length in April 2014 (at the very latest). See Nov. 5, 2021, Tr.

   31:19-32:4; see, e.g., Ex. P-156. Thus, JMOL as to plaintiff Ira Kleiman’s constructive fraud

   claim is warranted. Further, as demonstrated above, no fiduciary relationship existed between Dr.

   Wright and W&K, which requires JMOL on W&K’s constructive fraud claim.

          B.      No Reasonable Jury Could Find Dr. Wright Liable for Damages for
                  Constructive Fraud

          “In a tort action, the measure of damages is that which is necessary to restore the injured

   party to the position he would have been in had the wrong not been committed.” Glades Oil Co.,

   Inc. v. R.A.I. Mgmt., Inc., 510 So. 2d 1193, 1195 (Fla. 4th DCA 1987). To the extent that

   plaintiffs’ claim is based on conduct reflecting an intent to defraud, the measure of damages

   would be the same as discussed in Section 6.B., above. See QBE Ins. Corp., 971 F. Supp. 2d at

   1145. Where a constructive fraud claim is based on alleged abuse of a fiduciary relationship,

   damages must have accrued when that duty was violated. See Haddad, 589 F. Supp. 2d at 1307.

          In either case, plaintiffs failed to adduce any legally relevant evidence of their purported

   damages, and any purported damages calculation based on the date when the Complaint was

   filed, or any date after that, would be an impermissible measure of damages. Finally, because

   plaintiffs are not entitled to any damages on their fraud claim as a matter of law, it follows that

   an award of punitive damages also would be improper. See Soltero, 485 F. App’x at 380.

      8. No Reasonable Jury Could Find Dr. Wright Liable for Damages on
         Count X (Civil Theft)

          “To state a claim for civil theft under Florida law, plaintiff must allege an injury resulting

   from [Defendant’s] violation of the criminal theft statute, Fla. Stat. § 812.014.” Inglis v. Wells



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   Fargo Bank N.A., 2015 WL 5772030, at *3 (M.D. Fla. 2015). In that connection, damages under

   the civil theft statute consist of the fair market value of the taken property at the time of the

   purported taking. See Koster v. Phillips, 2013 WL 8433654, at *1 (Fla. Cir. Ct. June 12, 2013);

   cf. Carter v. State, 77 So. 3d 849, 851 (Fla. 2d DCA 2012) (“When the State offers evidence of

   solely the purchase price of an item without any testimony establishing the value at the time of

   the theft, courts have found the evidence insufficient to sustain a conviction for grand theft.”);

   K.W. v. State, 13 So. 3d 90, 91 (Fla. 3rd DCA 2009). Moreover, “[a] civil theft plaintiff must

   prove actual damages by clear and convincing evidence.” Wright v. Logan, 2011 WL 13175744,

   at *6 (M.D. Fla. 2011).

          At trial, plaintiffs had an opportunity, but failed, to present clear and convincing evidence

   demonstrating the value of the purported bitcoins and intellectual property on the date of the

   alleged theft. Again, they offered only a purported “spot” price of Bitcoin on three dates—

   February 14, 2018; October 20, 2021; and October 30, 2021. All these dates are years after any

   claim for civil theft would have accrued, and are irrelevant as a matter of law. Plaintiffs also

   failed to offer any evidence to demonstrate how a purported Bitcoin spot price on April 26, 2013

   or any other date before the filing of the Complaint could be legally relevant to calculating

   damages for their civil theft claim. Nor did Plaintiffs offer a shred of evidence as to the value of

   the intellectual property at issue at the time of the alleged theft. Thus, Dr. Wright cannot be held

   liable for compensatory damages for violation of the civil theft statute and the Court should enter

   JMOL on this issue.

      9. To the Extent They are Premised on The Alleged Wrongful Taking of Bitcoin,
         Counts I, II, V, and VI are Time-Barred

          Plaintiffs commenced this case on February 14, 2018. Under Fla. Stat. § 95.031(1), “[a]

   cause of action accrues when the last element constituting the cause of action occurs.” See also

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   Merle Wood & Assocs., Inc. v. Trinity Yachts, LLC, 857 F. Supp. 2d 1294, 1309 (S.D. Fla. 2012),

   aff’d, 714 F.3d 1234 (11th Cir. 2013). Counts I, II, V and VI are governed by the four-year

   limitations period of Fla. Stat. § 95.11(3), and all are time-barred.

          Plaintiffs allege that Dr. Wright took sole ownership or control of all bitcoins owned by

   David Kleiman’s after his death on April 26, 2013 through fraudulent contracts. E.g., SAC ¶¶95,

   202. Those contracts, which are part of the record of proceedings before the Supreme Court of

   New South Wales, were prepared no later than November 4, 2013. Ex. P-710. To the extent

   plaintiffs’ claims are based on the alleged wrongful transfer of bitcoins, each of the following

   claims accrued on (or soon after) April 26, 2013, and no later than November 4, 2013:

         Count I (Conversion): “The statute of limitations applicable to conversion . . . begins to
          run at the time of the conversion, except when the conversion is fraudulently concealed.”
          Small Bus. Admin. v. Echevarria, 864 F. Supp. 1254, 1260 (S.D. Fla. 1994);

         Count II (Unjust Enrichment): “Under Florida law . . . an unjust enrichment claim
          accrues when the benefit is conferred.” In re Burton Wiand Receivership Cases Pending
          in the Tampa Div. of the Middle Dist. of Fla., 2008 WL 818504 at *8 (M.D. Fla. 2008);

         Count V (Breach of Fiduciary Duty): “The cause of action accrues as soon as plaintiffs
          suffer damages resulting from the breach.” Ducat Fla., LP v. Wells Fargo Bank, N.A.,
          2013 WL 6667038, at *6 (S.D. Fla. 2013); and

         Count VI (Breach of Partnership Duties of Loyalty and Care): This claim also alleges a
          breach of fiduciary duty and is duplicative of Count V. Therefore, the cause of action
          accrues as soon as plaintiffs suffer damages resulting from the breach.

          It is undisputed that, prior to February 15, 2014, there were no communications between

   Dr. Wright and Ira Kleiman. Beyond mere non-disclosure, plaintiffs do not point to any action on

   the part of Dr. Wright prior to February 15, 2014 that resulted in “successful concealment of the

   cause of action” plaintiffs brought for the alleged taking of bitcoins. See Licul v. Volkswagen

   Grp. of Am., Inc., 2013 WL 6328734, at *6 (S.D. Fla. 2013) (“[I]naction and non-disclosure are

   wholly insufficient to supply the affirmative steps taken to prevent Plaintiffs from discovering


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   the basis of their claims that would be necessary before tolling based on fraudulent concealment

   becomes appropriate.”).

          As demonstrated in Section 6(a), Ira Kleiman first contacted Dr. Wright on February 15,

   2014 and, within two months, by April 15, 2014, admittedly began to distrust Dr. Wright. If

   there were any period during which fraudulent concealment tolling could be applicable, it would

   have been that two month period. See Speier-Roche v. Volksw Agen Grp. of Am. Inc., at *7 (S.D.

   Fla. 2014).11 Such tolling, even if it applied, would be insufficient to save plaintiffs’ claims

   alleging a wrongful taking of bitcoins, because the limitations period would have run between

   June 21, 2017 (assuming an accrual date of April 26, 2013 and adding two-months of tolling)

   and January 2, 2018 (assuming an accrual date of November 4, 2013 and adding two-months of

   tolling). Accordingly, the Court should enter JMOL on Dr. Wright’s affirmative defense of

   statute of limitations as to all portions of plaintiffs’ claims based on an alleged taking of bitcoins.

                                             CONCLUSION

          For all these good and sufficient reasons, Dr. Wright has a right to Judgment as a Matter

   of Law on damages, and on Counts I-II and V-VIII of the Second Amended Complaint.

   Accordingly, Dr. Wright respectfully requests that this Court enter JMOL for him on those

   Counts, and as to damages. Alternatively, plaintiffs should be precluded from seeking damages

   and/or disgorgement measured on, or after, the date on which they filed their Complaint.




   11
      There is no dispute that Plaintiffs claims would have been timely in April of 2014, which is
   when Ira Kleiman began to distrust Dr. Wright. This is therefore not a case where equitable
   estoppel is applicable because Dr. Wright’s conduct did not cause plaintiffs to forebear from
   bringing this case within applicable time limits. See Zainulabeddin v. Univ. of S. Fla. Bd. of
   Trustees, 749 F. App'x 776, 786 (11th Cir. 2018) (“Because USF's conduct did not prevent her
   from filing on time, we conclude that equitable estoppel does not apply.”).
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  Date: November 16, 2021,                   Respectfully submitted,

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                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(3)

            Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that undersigned counsel for the movant
   has conferred with all parties who may be affected by the relief sought in this motion in a good faith
   effort to resolve the issues but has been unable to resolve the issues.

                                                       /s/ Andres Rivero


                                    CERTIFICATE OF SERVICE

           I CERTIFY that on November 16, 2021, I electronically filed this document with the Clerk
   of the Court using CM/ECF. I also certify that the foregoing document is being served this day on
   all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                       /s/ Andres Rivero




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